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             In the United States Court of Federal Claims
                                         No. 07-589 C

                                (E-Filed: September 26, 2008)

                                                        )
JEFFREY B. KING, SCOTT A. AUSTIN,                       )
KEVIN J. HARRIS, AND JOHN J. HAYS,                      )
on their own behalf and on behalf                       )
of a class of others similarly situated,                ) Motion to Certify Class Action;
                                                        ) RCFC 23; Certification Granted.
                      Plaintiffs,                       )
v.                                                      )
                                                        )
THE UNITED STATES,                                      )
                                                        )
                      Defendant.                        )
                                                        )


Sandra Mazliah, Washington, DC, for plaintiffs.

Carrie A. Dunsmore, with whom were Gregory G. Katsas, Assistant Attorney General,
Jeanne E. Davidson, Director, and Martin F. Hockey, Jr., Assistant Director, Commercial
Litigation Branch, Civil Division, United States Department of Justice, Washington, DC,
for defendant.
                                OPINION AND ORDER

        Before the court is Plaintiffs’ Motion to Certify Class Action (plaintiffs’ Motion or
Pls.’ Mot.), filed on July 23, 2008, under Rule 23 of the Rules of the United States Court
of Federal Claims (RCFC). The complaint in this action, filed on August 2, 2007, claims
that plaintiffs, FBI police officers working during at least one pay period after January 1,
2003, were denied pay and benefits mandated by 28 U.S.C. § 540C. Complaint (Compl.)
1. Plaintiffs claim that pursuant to the Back Pay Act, 5 U.S.C. § 5596 (2006), they are
entitled to compensation, back pay, restitution, and attorneys fees.1 Compl. 1. Defendant


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        Defendant filed a motion to dismiss on October 31, 2007, claiming that the court did not
have jurisdiction to hear this case, that 28 U.S.C. § 540C was not money-mandating as required
by the Tucker Act, and that the Civil Service Reform Act (CSRA) precluded the court from
                                                                                   (continued...)
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filed a response to plaintiffs’ Motion on August 11, 2008, stating that defendant defers to
the court as to the question of whether plaintiffs’ Motion should be granted. Defendant’s
Response to Plaintiff[s’] Motion to Certify (defendant’s Response or Def.’s Resp.) 1.

       For the following reasons, plaintiffs’ Motion is GRANTED and Sandra Mazliah is
APPOINTED class counsel. This order defines the class and the class issues and explains
the reasons for appointing Sandra Mazliah as class counsel. See RCFC 23(c)(1)(A), (B).

I.     Introduction and Factual Background

        On November 2, 2002, the 21st Century Department of Justice Appropriations
Authorization Act (Act), Pub. L. No. 107-273, 116 Stat. 1758 (2002), became law.
Section 11024 of the Act, 116 Stat. at 1830–31, later codified as 28 U.S.C. § 540C, is
entitled “FBI Police.” See 28 U.S.C. § 540C (2006). This section authorizes the
“establish[ment] of a permanent police force, to be known as the FBI police” to provide
“protection of persons and property within FBI buildings and grounds.” 28 U.S.C.
§ 540C(b)(1), (2). Section 540C mandates that the FBI provide the FBI police with the
same pay and benefits as members of the Uniformed Division of the United States Secret
Service. 28 U.S.C. § 540C(b)(5)(A). Plaintiffs’ Complaint asserts that all plaintiffs are
current or former FBI police officers. Compl. 1–3.

        Defendant asserts that plaintiffs are not “FBI police officers” and that the FBI
Director has yet to establish the “FBI Police” as contemplated in 28 U.S.C. § 540C.
Defendant’s Motion to Dismiss (Motion to Dismiss or Def.’s Motion) 7. When deciding
class certification, however, the court takes all of plaintiffs’ allegations as true and does
not consider whether plaintiffs have stated a cause of action or will prevail on the merits.
See Filosa v. United States (Filosa), 70 Fed. Cl. 609, 615 (2006) (discussing Eisen v.
Carlisle & Jacquelin, 417 U.S. 156, 177–78 (1974) (interpreting Federal Rule of Civil
Procedure (FRCP) 23)). Accordingly, for the purpose of this decision, the court assumes
that all plaintiffs are current or former FBI police officers.

       Section 540C(b)(5)(B) mandates that the pay and benefits for FBI police officers
(1) be established by regulation, (2) apply to pay periods after January 1, 2003, and (3)
not cause any decrease in the rate of pay for any individual. 28 U.S.C. § 540C(b)(5)(B).
Plaintiffs claim that, starting on January 1, 2003 and continuing to the present, defendant


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          (...continued)
hearing the case. King v. United States, 81 Fed. Cl. 766, 767–68, 71 (2008). This court found
that it had jurisdiction, id. at 770, that § 540C was money mandating, id., and that the CSRA did
not preclude the court from hearing the case, id. at 771–72.

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has not complied with 28 U.S.C. § 540C and that plaintiffs are owed compensation under
the Back Pay Act, 5 U.S.C. § 5596. Compl. 5–6.

        Under the Back Pay Act, “An employee of an agency who . . . ha[s] been affected
by an unjustified or unwarranted personnel action which has resulted in the withdrawal or
reduction of all or part of the pay . . . of the employee” is entitled to “an amount equal to
all or any part of the pay . . . as applicable which the employee normally would have
earned or received during the period if the personnel action had not occurred, less any
amounts earned by the employee through other employment during that period” and, in
certain cases, attorneys fees. 5 U.S.C. § 5596(b)(1).

II.    Legal Standards

        This court’s rule on class actions, RCFC 23, was completely rewritten and
reissued in 2002 (and subsequently amended in 2004).2 RCFC 23, Rules Committee
Notes (2004). Prior to 2002 the court followed Quinault Allottee Ass’n v. United States
(Quinault), 197 Ct. Cl. 134, 453 F.2d 1272 (Ct. Cl. 1972), which borrowed criteria from
Rule 23 of the Federal Rules of Civil Procedure (FRCP).3


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         Rule 23 of the Rules of the United States Court of Federal Claims (RCFC) is modeled
after Rule 23 of the Federal Rules of Civil Procedure (FRCP). See Curry v. United States
(Curry), 81 Fed. Cl. 328, 332 n.10 (2008). Because the language of RCFC 23 and FRCP 23 are
practically identical, other federal cases applying FRCP 23 are helpful in interpreting RCFC 23.
RCFC 23 differs from the federal rule in two ways: (1) it has been modified to reflect the court’s
jurisdiction, in particular, the narrow circumstances in which the court will afford declaratory or
injunctive relief, and (2) it allows only “opt-in,” but not “opt-out,” class actions. RCFC 23,
Rules Committee Notes (2002).
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          The multi-factor test set forth in Quinault Allotee Ass’n v United States consisted of:
(i) the class must be large, but manageable; (ii) there must be a question of law common to the
whole class; (iii) the common question of law must predominate over any separate factual issues
affecting individual class members; (iv) the claims of named plaintiffs must be typical of the
class; (v) the United States must have acted on grounds generally applicable to the whole class;
(vi) the claims of many allottees must be so small that it is doubtful they would otherwise be
pursued; (vii) the current plaintiffs must adequately and fairly protect the interests of the class
without conflicts of interest; and (viii) the prosecution of individual lawsuits must create a risk of
inconsistent or varying adjudications. Quinault Allottee Ass’n v. United States, 197 Ct. Cl. 134,
140–41, 453 F.2d 1272, 1276 (Ct. Cl. 1972). The eighth factor, the risk of inconsistent
adjudications, has been largely obviated by the creation of the United States Court of Appeals for
the Federal Circuit, which hears all appeals from the district courts and this court in cases
involving requests for money damages from the government. See Fisher v. United States, 69
                                                                                         (continued...)
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        The commentary to RCFC 23 states that “[i]n the main” the rule adopts the criteria
as set forth in Quinault. RCFC 23, Rules Committee Notes (2002). The current rule
provides:

       (a) Prerequisites to a Class Action. One or more members of a class may
       sue as representative parties on behalf of all only if (1) the class is so
       numerous that joinder of all members is impracticable, (2) there are
       questions of law or fact common to the class, (3) the claims of the
       representative parties are typical of the claims of the class, and (4) the
       representative parties will fairly and adequately protect the interests of the
       class.

       (b) Class Actions Maintainable. An action may be maintained as a class
       action if the prerequisites of subdivision (a) are satisfied, and in addition:
              (1) the United States has acted or refused to act on grounds generally
              applicable to the class; and
              (2) the court finds that the questions of law or fact common to the
              members of the class predominate over any questions affecting only
              individual members, and that a class action is superior to other
              available methods for the fair and efficient adjudication of the
              controversy. The matters pertinent to the findings include: (A) the
              interest of members of the class in individually controlling the
              prosecution of separate actions; (B) the extent and nature of any
              litigation concerning the controversy already commenced by
              members of the class; and (C) the difficulties likely to be
              encountered in the management of a class action.

RCFC 23(a), (b).

         In shorthand, as stated in Barnes v. United States (Barnes), 68 Fed. Cl. 492, 494
(2005), this rule can be grouped into five requirements: (i) numerosity, (ii) commonality,
(iii) typicality, (iv) adequacy, and (v) superiority. A failure to satisfy any one of the
categories is fatal to class certification. See Testwuide v. United States, 56 Fed. Cl. 755,
761 (2003) (noting that a court will not certify a class if it fails to satisfy any of the
categories); see also Gen. Tel. Co. of the Sw. v. Falcon (Falcon), 457 U.S. 147, 161
(1982) (making same observation as to the FRCP). Thus, to prevail in their motion to

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        (...continued)
Fed. Cl. 193, 197 n.4 (2006) (citing Moore v. United States, 41 Fed. Cl. 394, 400 (1998) and
Taylor v. United States, 41 Fed. Cl. 440, 447 (1998)).

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certify a class, plaintiffs must establish, by a preponderance of the evidence, that the
proposed action satisfies each of the five categories. See Filosa, 70 Fed. Cl. at 615.

III.   Application of Legal Standards to This Case

      For the following reasons the court finds that the proposed class fulfills the RCFC
23 requirements for numerosity, commonality, typicality, adequacy, and superiority.

       A.     Numerosity

       RCFC 23(a)(1) allows for class certification if “the class is so numerous that
joinder of all members is impracticable.” RCFC 23(a)(1). “Impracticable” does not mean
“impossible.” Barnes, 68 Fed. Cl. at 495 (citing Robidoux v. Celani, 987 F.2d 931, 935
(2d Cir. 1993) (discussing FRCP 23)). The court determines numerosity by a variety of
factors that include the number of class members, the location of the members of the
proposed class, the size of the individual claims, and the nature of the action. 7A Charles
Alan Wright, Arthur R. Miller, & Mary Kay Kane, Federal Practice & Procedure (Wright,
Miller, & Kane) § 1762 at 177, 206–07 (3d ed. 2005).

        While not outcome determinative, the number of potential class members is
persuasive when determining numerosity: generally, if there are more than forty potential
class members, this prong has been met. See Stewart v. Abraham (Stewart), 275 F.3d
220, 226–27 (3d Cir. 2001) (“No minimum number of plaintiffs is required to maintain a
suit as a class action [under FRCP 23], but generally if the named plaintiff demonstrates
that the potential number of plaintiffs exceeds 40, the first prong of Rule 23(a) has been
met.”); 5 James Wm. Moore et al., Moore's Federal Practice § 23.22[1][b] (Matthew
Bender 3d ed. 2004). Plaintiffs need not allege the exact number or identity of the class
members, but they need more than mere speculation as to the number of parties. See
Marcial v. Coronet Ins. Co. (Marcial), 880 F.2d 954, 957 (7th Cir. 1989) (noting that
under FRCP 23 plaintiffs do not need to know the “exact number” of members, but
“cannot rely on conclusory allegations that joinder is impractical or on speculation as to
the size of the class in order to prove numerosity”).

       1.     Number of Class Members

       Here, the proposed class description indicates, with some specificity, who is
included in the class. The proposed class includes:

        All employees of [d]efendant who were, are, or will be employed as a
        member of the FBI police during at least any one pay period beginning
        after January 1, 2003 and [w]ho did not receive pay and benefits equivalent
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           to the pay and benefits applicable to members of the United States Secret
           Service Uniformed Division as required by 28 U.S.C. § 540C.

Plaintiffs’ Memorandum of Points and Authorities in Support of Plaintiffs’ Motion to
Certify Class Action (Pls.’ Mem.) 8. Plaintiffs have identified 152 potential class
members.4 Id. Plaintiffs claim that the size of “the potential class is approximately twice
the number of those who already consented to be part of the class.” Id. at 9. Plaintiffs
estimated the number of additional class members using a 2006 Government
Accountability Office (GAO) report. Id. at 9, Exhibit (Ex.) 9 (GAO-07-12, Federal Law
Enforcement: Survey of Federal Civilian Law Enforcement Function and Authorities,
Dec. 2006). This report stated that there were then 239 FBI police officers employed by
the FBI. Id. at Ex. 9. Plaintiffs point out that the GAO number includes neither former
FBI police officers no longer then working for the FBI, nor FBI police officers appointed
after the date reflected in the GAO report. Id. at 9.

        Plaintiffs did not use “mere speculation” to come up with the number of additional
plaintiffs, they estimated based on a figure reported by GAO, and, importantly, have
already identified 152 potential plaintiffs. Id.; see Marcial, 880 F.2d at 957. The actual
number of members of the class already identified, 152, is significantly higher than the
threshold number of forty, and is likely sufficient to satisfy the numerosity prong by itself.
See Stewart, 275 F.3d at 226–27. However, the court analyzes whether other factors
considered in determining numerosity also support a finding of numerosity.

       2.        Location of Members of the Proposed Class

       Another factor to consider in determining numerosity is the geographical location
of the potential class members. See Zeidman v. J. Ray McDermott & Co., 651 F.2d 1030,
1038 (5th Cir. Unit A July 1981). If plaintiffs are dispersed geographically, then a court
is more likely to certify a class action. See Filosa 70 Fed. Cl. at 615 (certifying a class
action when plaintiffs were dispersed throughout twelve states).

       “[P]laintiffs are located in every location where FBI police are regularly stationed,
including but not limited to Washington, DC, Virginia, West Virginia, and New York.”
Pls.’ Mem. 8. The court also notes that former FBI police officers, who are potential


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         Attached to plaintiffs’ Memorandum of Points and Authorities in Support of Plaintiffs’
Motion to Certify Class Action (Pls.’ Mem.), plaintiffs submitted Exhibit (Ex.) 8 that consists of
signed consent forms from 152 current or past members of the proposed class all of whom
worked at least one pay period after January 1, 2003, and who claim they did not receive pay and
benefits equivalent to the pay and benefits applicable to the United States Secret Service
Uniformed Division. Pls.’ Mem, Ex. 8.
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class members, could be located anywhere. Owing to the dispersion of plaintiffs over, at
a minimum, three states and the District of Columbia, the court finds that the
geographical dispersion of plaintiffs is sufficiently broad to support the numerosity
requirement.

       3.     Size of Individual Claims

        Another factor in determining numerosity is whether the size of each individual
plaintiff’s claim hinders the ability of a plaintiff to file any action at all. See Wright,
Miller, & Kane § 1762 at 206 & n.55. The smaller the size of the claim and the larger the
number of persons, the less likely it is that, without the benefit of a class action, any
plaintiff will recover. See Barnes, 68 Fed. Cl. at 499–500 (“[T]he small recoveries
expected to be received by these individuals - estimated to be individually in the hundreds
of dollars - render it less likely that, without the benefit of class representation, they
would be willing to incur the financial costs and hardships of separate litigations, the
costs of which would certainly exceed their recoveries many-fold.”).

       While plaintiffs here have not briefed the court on this issue, in other wage and
hours contexts, this court has found that the small size of the claims involved supports the
numerosity requirement. See Filosa, 70 Fed. Cl. at 622 (noting in a case about calculating
compensation for additional time worked, that “there is little benefit to having each
proposed class member retain counsel, pay filing fees, and submit duplicative
pleadings”); Barnes, 68 Fed. Cl. at 499–500 (noting in an overtime case that “the small
recoveries . . . render it less likely” that individual actions would be brought without a
class action).

       4.     Conclusion

        For the foregoing reasons, the court finds that the proposed class satisfies the
numerosity requirement owing to the large number of already identified and reasonably
estimated class members, the geographic dispersion of members of the class, and the
likely size of the claims in relation to the likely costs of separate litigation.

       B.     Commonality

       The commonality requirement addresses three separate issues: (1) whether “there
are questions of law or fact common to the class,” RCFC 23(a)(2), (2) whether those
common questions “predominate over any questions affecting only individual members,”
RCFC(b)(2), and (3) whether “the United States acted or refused to act on grounds
generally applicable to the class,” RCFC 23(b)(1). “The threshold of ‘commonality’ is
not high.” Jenkins v. Raymark Indus., 782 F.2d 468, 472 (5th Cir. 1986) (interpreting
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FRCP 23(a)(2)). When determining commonality the court must “seek to develop an
understanding of the relevant claims, defenses, facts and substantive law.” Barnes, 68
Fed. Cl. at 496 (citing Falcon, 457 U.S. at 160); see also Coopers & Lybrand v. Livesay,
437 U.S. 463, 469 (1978) (noting that class determination under FRCP 23 “involves
considerations that are ‘enmeshed in the factual and legal issues comprising the plaintiff’s
cause of action’”) (citation omitted). The court’s determination of the common issues of
law and fact raised here has been addressed, in part, in the court’s decision denying
defendant’s motion to dismiss. King v. United States, 81 Fed. Cl. 766 (2008).

       1.     Common Questions or Law or Fact

       RCFC 23(a)(2) requires there to be “questions of law or fact common to the class.”
RCFC 23(a)(2). The requirement is satisfied if there is at least “one core common legal
question that is likely to have one common defense.” Fisher, 69 Fed. Cl. at 199; see
Forbush v. J.C. Penny Co., 994 F.2d 1101, 1106 (5th Cir. 1993) (“The interests and
claims of the various plaintiffs need not be identical. Rather, the commonality test [for
FRCP 23] is met when there is ‘at least one issue whose resolution will affect all or a
significant number of the putative class members.’”) (citation omitted).

        Here, common questions of law and fact apply to the entire class. The questions
are as follows: (1) whether section 540C requires that FBI police officers be paid as
Secret Service Uniformed Division Officers; (2) whether the government has or has not
paid FBI police officers as Secret Service Uniformed Division Officers; and (3) whether
FBI police officers are entitled to compensation under the Back Pay Act owing to the
government’s failure to pay them as Secret Service Uniformed Division Officers. The
court agrees with the conclusion that “commonality is satisfied where the lawsuit
challenges a system-wide practice or policy that affects all of the putative class
members.” Armstrong v. Davis, 275 F.3d 849, 868 (9th Cir. 2001) (deciding an FRCP 23
commonality issue).

       2.     Common Questions of Law or Fact Predominate Over Individual Questions

       RCFC 23(b)(2) requires that, once a class is certified, “questions of law or fact
common to the members of the class [must continue to] predominate over any questions
affecting only individual members” if the class action is to be maintained. RCFC
23(b)(2). “‘[F]actual variation among the class grievances’ is acceptable as long as ‘a
common nucleus of operative fact’ exists.” Curry v. United States (Curry), 81 Fed. Cl.
328, 334 (2008) (quoting Rosario v. Livaditis, 963 F.2d 1013, 1017–18 (7th Cir. 1992)).
The fact that the eventual award “‘will ultimately require individualized fact
determinations is insufficient, by itself’ to defeat a class action.” Id. (quoting McCarthy
v. Kleindienst, 741 F.2d 1406, 1415 (D.C. Cir. 1984)).
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       If successful, plaintiffs will receive different awards of damages based on factors
such as seniority or pay grade. However, it is clear that the outcome-determinative
question is whether or not the government failed to pay FBI police officers in violation of
28 U.S.C. § 540C. See Barnes, 68 Fed. Cl. at 498 (“[T]here scarcely would be a case that
would qualify for class status in this court [if individual damages were outcome
determinative for class certification].”). At a later date, if required, the court can
determine a formula for calculating individual damages. See id. at 498–99 (discussing
how the court could employ damage estimations).

       3.     Refusal to Act by the United States on Grounds Generally Applicable to the
              Class

        RCFC 23(b)(1) requires that in order to maintain a class action the United States
must have “acted or refused to act on grounds generally applicable to the class.” RCFC
23(b)(1). Here, the claim is that the United States has refused to pay FBI police officers
in accordance with 28 U.S.C. § 540C. Pls.’ Mem. 13. The alleged refusal to act applies
to the entire potential class of plaintiffs.

       4.     Conclusion

        For the foregoing reasons, plaintiffs have satisfied each of the three requirements
for a finding of commonality.

       C.     Typicality Requirement

       “[T]he claims of the representative parties [must be] typical of the claims of the
class.” RCFC 23(a)(3). The threshold for typicality, as with the threshold for
commonality, is “‘not high.’” Curry, 81 Fed. Cl. at 335 (quoting Fisher, 69 Fed. Cl. at
200). The applicable test is “‘not unusually restrictive.’” Id. (quoting Fisher 69 Fed. Cl.
at 200). Courts “have found typicality if the claims or defenses of the representatives and
the members of the class stem from a single event or a unitary course of conduct, or if
they are based on the same legal or remedial theory.” Wright, Miller, & Kane § 1764 at
270–71 (footnotes omitted).

        Here, as with the claims for commonality, the claims of all proposed class
members are similar and the representative parties have the same claims as the proposed
members of the class. The representative parties are all FBI police officers who worked
at least one pay period after January 1, 2003. Pls.’ Mem. 14. The proposed members of
the class are all FBI police officers who have worked at least one pay period after January
1, 2003. Id. at 8. The typicality requirement, therefore, has been met.

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       D.       Adequacy Requirement

        To determine whether the representative parties adequately represent the class,
courts first consider the adequacy of class counsel and, second, ensure that class members
do not “have interests that are ‘antagonistic’ to one another.” See Barnes, 68 Fed. Cl. at
499 (quoting In re Drexel Burnham Lambert, 960 F.2d 285, 291 (2d Cir. 1992)). Because
the second prong, concerning antagonistic interests, does not appear to be an issue in this
case, the court focuses its discussion on the adequacy of class counsel.5

        Under RCFC 23(g)(1)(B), “An attorney appointed to serve as class counsel must
fairly and adequately represent the interests of the class.” RCFC 23(g)(1)(B). Class
counsel must be “qualified, experienced, and generally able to conduct the litigation.”
Barnes, 68 Fed. Cl. at 499 (quoting In re Drexel Burnham Lambert, 960 F.2d at 291). To
determine whether an attorney will “fairly and adequately” represent the class the court
considers:

       [1] the work counsel has done in identifying or investigating potential claims in the
       action [; 2] counsel’s experience in handling class actions, other complex
       litigation, and claims of the type asserted in the action[; 3] counsel’s knowledge of
       the applicable law[; and 4] the resources counsel will commit to representing the
       class.

RCFC 23(g)(1)(C)(i).

        The court may also “consider any other matter pertinent to counsel’s ability to
fairly and adequately represent the interests of the class.” RCFC 23(g)(1)(C)(ii).
Moreover, the court may direct potential class counsel to provide the court with
information on fees, costs, or any other matter pertinent to the appointment as class
counsel. RCFC 23(g)(1)(C)(iii).

        Sandra Mazliah, in the context of and with the anticipated support of the law firm
of Passman & Kaplan, P.C. (the firm), meets the criteria set up in RCFC 23(g)(1)(C)(i).
Ms. Mazliah and the firm have investigated the current case, researched the applicable
legal issues, and identified potential class members. Pls.’ Mem. 15–16. Before filing the


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         The court finds that class certification and appointment of Sandra Mazliah, presently
counsel of record for plaintiffs, as class counsel would be consistent with the second test for
adequacy: that none of the interests of the representative parties are antagonistic with those of
the other members of the proposed class. All plaintiffs have the same legal claim. The court
does not perceive how a resolution of this case in any plaintiff’s favor could adversely affect the
others in the potential class.
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complaint, counsel “performed many hours of legal and factual research to determine if
potential claims existed.” Id. Ms. Mazliah and the firm “filed FOIA requests to obtain
relevant documents.” Id. Additionally, over 150 potential class members contacted the
firm and provided factual information about the claims. Id. Sandra Mazliah, as counsel
of record, also successfully defeated defendant’s Motion to Dismiss. Id.

        Ms. Mazliah and the firm have experience managing class actions and other
complex civil cases, including management of “numerous class complaints and large
consolidated complaints regarding promotions, leave, earnings under the Fair Labor
Standards Act, and retirement benefit entitlements.” Id. Ms. Mazliah points out that the
firm has been class counsel in three federal employment cases and two other complex
federal employee actions. See id. at 16 (listing the cases in which the firm has been
plaintiffs’ counsel).

       Plaintiffs assert that class counsel will “devote sufficient resources to this case.”
Pls.’ Mem. at 16. The firm’s practice “concentrates on employment matters affecting
federal civil service employees.” Id. Members of the firm have authored a handbook for
federal employees and produce a weekly publication on federal employment matters. Id.
Members of the firm have experience with experts on economic damages and with
discovery of government personnel records. Id. The litigation team for this case consists
of a partner, Sandra Mazliah, a senior associate, an associate, and a law clerk/paralegal.
Id. “[T]he firm’s senior partners, Edward Passman and Joseph Kaplan, are fully briefed
on the status and issues in the complaint.” Id.

       The court concludes that Ms. Mazliah, considered in the context of and with the
anticipated support of the law firm of Passman & Kaplan, P.C., will fairly and adequately
represent the class.6 For the foregoing reasons, the court finds that this action meets the
adequacy requirement.

       E.       Superiority Requirement

       In order for a case to be maintained as a class action, it must be “superior to other
available methods for the fair and efficient adjudication of the controversy.” RCFC
23(b)(2). In Barnes, the court noted that superiority can be met when “‘a class action


       6
        Because the adequacy of the individual proposed as class counsel has been determined in
the context of the support provided to her and to this litigation by the firm, the court may
reconsider this decision if Ms. Mazliah should separate from the firm, or if the firm should
become materially diminished or lack capacity to provide the support described in plaintiffs’
Motion, or if the firm should dissolve during the pendency of this litigation. In any such event
counsel shall promptly notify the court by motion to take notice of the event.
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would achieve economics of time, effort, and expenses, and promote uniformity . . .
without sacrificing procedural fairness or bringing about other undesirable results.’”
Barnes, 68 Fed. Cl. at 499 (quoting FRCP 23, Advisory Committee Notes (1966)). The
court must balance any problems with the ability to manage or fairness of conducting a
class action with any benefit individual members or the system will receive from such an
action. Id.

       The court finds that the superiority requirement is met. Owing to the common
questions of law and fact and uncertainty as to whether individuals will proceed on their
own, the court concludes that a class action is superior to other methods of adjudication.
Conducting this case as a class action is likely to achieve efficiencies in the use of the
resources of both the parties and the court.7

       F.       Conclusion

        For the foregoing reasons, the court finds that all requirements for class action
certification are met, and that plaintiffs have shown by a preponderance of the evidence
that this case should be certified as a class action.

IV.    Certification of Class Action

       Pursuant to RCFC 23(c)(1)(B), “An order certifying a class action must define the
class and the class claims, issues, or defenses, and must appoint class counsel under
RCFC 23(g).” RCFC 23(c)(1)(B).

       A.       Class

       Plaintiffs’ proposed class is:

       All employees of [d]efendant who were, are, or will be employed as a
       member of the FBI police during at least any one pay period beginning after
       January 1, 2003; and [w]ho did not receive pay and benefits equivalent to
       the pay and benefits applicable to members of the United States Secret
       Service Uniformed Division as required by 28 U.S.C. § 540C.




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        While the parties have not briefed this court on this issue, the court notes that in wage
and hours cases other courts have found that the small size of an individual claim could preclude
prudent resolution. See supra Part III.A.3.
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Pls.’ Mem. 8. The court adopts the proposed class description with one substantive
change (regarding persons who “will be employed”) and one change (deletion of the word
“any”) that the court believes is non-substantive. As to the substantive change, this court
does not have the ability to adjudicate the claims of future employees of the FBI. See
Bowen v. Massachusetts, 487 U.S. 879, 905 (1988) (noting that this court “does not have
the general equitable powers of a district court to grant prospective relief”). Only persons
currently or previously employed as FBI police officers may be in the class. Therefore
the court revises the phrase “were, are, or will be employed” to read “were or are
employed.” Accordingly, the class certified by this court is:

       All employees of the United States who were or are employed as a member
       of the FBI police during at least one pay period beginning after January 1,
       2003, and who did not receive pay and benefits equivalent to the pay and
       benefits applicable to members of the United States Secret Service
       Uniformed Division as required by 28 U.S.C. § 540C.

       B.     Class Issues

        The three main issues that apply to the class are: (1) whether section 540C requires
plaintiffs to be paid as United States Secret Service Uniformed Division Officers; (2)
whether the government has or has not paid plaintiffs as United States Secret Service
Uniformed Division Officers; and (3) whether plaintiffs are entitled to compensation
under the Back Pay Act. These issues are the “class issues.” See RCFC 23(c)(1)(B).

       C.     Class Counsel

       The RCFC allow for only “one attorney of record” and such attorney “shall be an
individual (and not a firm).” RCFC 83.1(c)(1). All other attorneys shall be designated
“of counsel.” Id. This court appoints Sandra Mazliah as class counsel for the reasons
discussed in Part III.D above. The law firm of Passman & Kaplan, P.C. shall be
designated “of counsel” in the filings.

       D.     Attorneys Fees

       Pursuant to RCFC 23(g) this court “may direct potential class counsel to provide
information on any subject pertinent to the appointment and to propose terms for attorney
fees and nontaxable costs.” RCFC 23(g)(1)(C)(iii). On or before Friday, October 10,
2008, plaintiffs’ counsel shall file a supplemental exhibit to plaintiffs’ Motion, which
shall describe plaintiffs’ counsel’s record-keeping procedures regarding attorneys fees
and other expenses in this litigation. The supplemental exhibit to plaintiffs’ Motion shall

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also describe the terms of any existing agreements with proposed class representatives
regarding the payment of attorneys fees and other expenses of the litigation.


V.    Conclusion

       For the foregoing reasons, this court GRANTS plaintiffs’ Motion, CERTIFIES this
action as a class action, APPOINTS Sandra Mazliah as class counsel, and ORDERS class
counsel to provide the court with the information described in Part IV.D above. On or
before Friday, October 10, 2008, the parties shall file a joint status report suggesting
further proceedings and describing a proposed plan for meeting the notice requirements
of RCFC 23(c).

      Pursuant to RCFC 10(a), all subsequent pleadings in this case shall use the caption
shown above.

      IT IS SO ORDERED.

                                                s/ Emily C. Hewitt
                                                EMILY C. HEWITT
                                                Judge




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